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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                    )
    UNITED STATES OF AMERICA,                       )
                                                    )
                                                    )
                         v.                         ) Case No. 1:21-cr-175-TJK
                                                    )
                                                    )
    ETHAN NORDEAN, et al.,                          )
                                                    )
          Defendants.                               )
                                                    )

       DEFENDANT NORDEAN’S NOTICE OF TRIAL MATERIALS SUBMITTED
                       DIRECTLY TO CHAMBERS

         Nordean, by counsel, files this notice in order to docket certain submissions made by the

parties directly to chambers in this matter.

         On November 2, 2022, the parties jointly emailed chambers with documents titled: (1)

“Joint Proposed Jury Instructions”; (2) “Joint Statement re Lesser Offenses”; and (3) “Parties

Joint Proposed Juror Questionnaire.” Exh. 1.

         On January 25, 2023, the parties emailed chambers concerning a dispute over Federal

Rule of Evidence 613(b). Exh. 2.

         On February 3, 2023, Nordean emailed chambers with objections to the government’s

Telegram chat evidence. Exh. 3.1

         On March 7, 2023, Nordean emailed chambers regarding the Court’s sealed order for

partial jury sequestration. Exh. 4.




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  Nordean’s submission included a file in .xls format which he hereby incorporates into the trial
record.
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       On April 13, 2023, Nordean emailed chambers with objections to the jury instruction

concerning conspiracy law. Exh. 5.

       On May 3, 2023, counsel for Defendant Rehl emailed chambers concerning an error in

the verdict form. Exh. 6.

       On May 8, 2023, Nordean’s counsel emailed chambers regarding reporting that notes

apparently containing attorney-client communications had been taken from the defense table in

the courtroom and provided to the news media. Exh. 7.


Dated: September 6, 2023                    Respectfully submitted,


                                            /s/ David B. Smith
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                                            Attorneys for Ethan Nordean




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                                      Certificate of Service
       I hereby certify that on the 6th day of September, 2023, I filed the foregoing filing with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s): counsel of record.

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                      /s/ David B. Smith
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                                                      Attorneys for Ethan Nordean




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